Case 15-11660-KBO Doc 312 Filed 02/10/16 Page 1 of 40

UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

Inre: ZLOOP, Inc. Case No. 15-11660
Reporting Period: December ]. 2015 - December 31, 2015

 

 

MONTHLY OPERATING REPORT

File with Court and submit copy to United States Trustee within 20 days after end of month,

Submit copy of report to any official committee appointed in the case.

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REQUIRED DOCUMENTS.)

HITE See yey

 

Document” ‘Explanation ‘Affidavit/Supplement

 

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yes a BS Attached Attached ©“ Attached
Schedule of Cash Receipts and Disbursements MOR-1 X
Bank Reconciliation (or copies of debtor's bank reconciliations) |MOR-la x
Schedule of Professional Fees Paid MOR-1b x
Copies of bank statements opie Xx
Cash disbursements journals : : x
Statement of Operations MOR-2 x
Balance Sheet ; MOR-3 x
Status of Postoetition Taxes MOR-4 x
Copies of IRS Form 6123 or payment receipt Mag een xX
Copies of tax returns filed during reporting period Lael N/A
Summary of Unpaid Postpetition Debts MOR-4 x
Listing of aged accounts payable MOR-4 x
Accounts Receivabie Reconciliation and Aging MOR-5 x
Debtor Questionnaire MOR-S5 x

 

 

 

 

 

 

 

I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents
are true and correct to the best of my knowledge and belief.

 

 

 

 

 

 

 

Signature of Debtor Date
Signature.of Joint Debtor Date
a
c <n
{ . . ZlrolZoia
Signature of Authorized Individud} Date
Printed Name of Authorized Individual Title of Authorized Individual

“Authorized individual must be an officer, director or shareholder if debtor is a corporation: a partner if debtor
is a parmershin: a manager or member if debtor is a limited liability company.

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(G37)

 

 
Case 15-11660-KBO Doc 312 Filed 02/10/16 Page 2 of 40

Jn re ZLOQP, Inc. Case No. 15-11660
Debtor

Reporting Perind: December 1, 2015 ~ December 31, 2015
SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

Amounts reported should be per the debtor's books. not the bank statement. The beginning cash should bc the ending cash from the prior month or. if this is the
first report. the amount should be the balance on the date the petition was filed. The amounts Teporied in the "CURRENT MONTH - ACTUAL" column must
equal the sum of the four bank account columns. The amounts reported in the "PROJECTED" columns should be taken from the SMALL BUSINESS INITIAL.
REPORT (FORM IR-1}. Attach copies of the bank statements and the cash disbursements journal. The total disbursements listed in the disbursements journal
must cqual the total disbursements reported on this page. A bank reconciliation must be attached for cach account. [Sce MOR-! (CONT)}

   

* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE

THE FOLLOWING SECTION MUST BE COMPLETED

   

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Case 15-11660-KBO

ZLOOP, Inc.

Other Receipts:

Refund from PCNS LLC (Utility)

Recovery from Sale of Hickory Commerical LLC
Real Estate

Other Disbursements:
NONE

Doc 312

$170.23

$202,810.37
$202,980.60

Filed 02/10/16 Page 3 of 40

Case No. 15-11660
Reporting Period: December 1, 2015 - December 31, 2015

 

 
Case 15-11660-KBO Doc 312 Filed 02/10/16 Page 4 of 40

Debtor ind: December 1, 2015 - December. OS

BANK RECONCILIATIONS
Continuation Skeet fer MOR-1
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BALANCE PER BOOKS: j

 

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Case 15-11660-KBO Doc 312 Filed 02/10/16 Page 5 of 40

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PATRIOT BANK
7500 SAN FELIPE, SUITE 125
HOUSTON, TEXAS 77063
713-400-7100

992498
ZLOOP, LLC Date 12/31/15
816 13TH STREET NE Account Number
HICKORY NC 28601 Enclosures

ccoom CHECKING ACCOUNTS ----

Account Title: ZLOOP, LLC

 

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Page 1
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Get social with Patrdot Bank! Like us on Facebook, connect on Linkedin or
follow on Twitter for branch promotions, events and news. visit our website

and click the icons to connect.

Daily Balance Information
Date Balance
12/01 1.00

PATRIOT BUS CHECKING Number of Enclosures 0

. Account Number 1000051994 Statement Dates 12/01/15 thru 12/31/15

Previous Balance 1.00 Days in the statement period 31

Deposits/Credits -00 Average Ledger 1.00

Checks/Debits -00 Average Collected 1.00
Maintenance Fee .00
Interest Paid .00
Ending Balance 1.00

 

MEMBER FDIC

NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION

Payments received at the address indicated on this statement by 4:00 p.m, CST
each banking day will be credited as of that date.

992498 ~FQRM NO. VS-1060LRZ

 

 

 
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= STATEMENT Page 1 of
ge) of 13
\s UnionBank oF AccoUNTS Z1OOP, INC.

UNION BANK Statement Number: 2133489589

TRUSTEE SERVICES 0213 12/1/15- 12/31/15

POST OFFICE BOX 513840

LOS ANGELES CA 90051-3840

: Customer Inquiries
800.669.8664]
CY30M. 217M 0000 Thank you for banking with us

since 2015

any ZLOOP, INC.
Eee OPERATING

CHAPTER 11 DEBTOR IN POSSESION CDIP) po .
CASE #15-11660 | (wv C,

816 13TH STREET NE
HICKORY NC 28601

M@ Conveniently access account information and key online services with the Mobile Business Center
from Union Bank. Go to m.unionbank.com on your smartphone to check balances, initiate transfers,
and approve wires securely. You can also manage stops and returns as well as view and make
decisions on Positive Pay exceptions. To learn more, call your treasury relationship manager or
contact Treasury Management Sales at 800-883-0285.

 

 

 

 

 

ANALYZED BUSINESS CHECKING SUMMARY Account Number: 2133489589
Days in statement period: 31
Beginning balance on 12/1 $ 50,106.03
Total Credits 213,040.18
Deposits (1 } 1,505.98
Electronic credits { 4 } 211,534.20
Total Debits -62,854.12
Checks paid ( 21 } -11,238.14
Electronic debits { 2 } 3,327.38
Other debits, fees and adjustments ( 4 } -48 288.460
Ending Balance on 12/31 $ 200,292.09
CREDITS
Deposits
including check Date Description Reference Amount
and cash credits 12/14 BANK-BY-MAIL DEPOSIT # 0000588584 47096318 $ 1,505.98
Electronic credits
Date Description Reference Amount
12/3  WIRETRANS TRN 1203016471 120315 5570800336JO 93051275 ¢ 2,447.25
Received From: .
JPMORGAN CHASE BANK
Originalor:
WISTRON GREENTECH TEXAS .
12/17 WIRE TRANS TRN 1217014622 121715 5436700350/O 93051378 3,765.95
Received From:
JPMORGAN CHASE BANK
Originator:
WISTRON GREENTECH TEXAS
12/24 WIRETRANS TRN 1224017782 122415 171 8500358)O 93052751 2,510.63
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Us UnionBank

Electronic credits continued

Page 2 of 13

ZLOOP, INC,

Statement Number: 2133489589
12/1/18 - 12/31/15

 

 

 

 

 

 

 

 

 

 

 

Date Description Reference Amount —
12/29 WIRETRANS TRN 1229021778 122915 2015 12290012330 93055422 $ 202,810.37
Received From:
WELLS FARGO BANK NA
Originator:
CHICAGO TITLE COMPANY LLC-NORTH
4 Electronic credits Total amount § 211,534.20
DEBITS
Checks paid
Number Date Amount Number Date Amount Number Date Amount
146042 12/1 $ 167.47 16050 12/9 § 1,125.00 16058 12/11 $ 960.82
16043 12/28 644.85 1605) 12/8 531.39 16059 12/14 926,73
16044 12/4 400.00 16052 12/9 131.05 16060 12/30 355.84
16045 12/7 854.77 16083 12/8 170.23 16061 12/3) 1,012.50
16044 12/7 48,33 16054 12/7 838.37 16062 12/30 1,154.93
16047 12/9 131.25 16055 12/7 65.76 .
16048 12/11 727.86 16056 12/8 500.00
16049 12/3 124.18 16057 12/8 366.84
21 Checks paid Total amount $ 11,238.14
Electronic debits
Date Description Reference Amount
12/16 WIRETRANS TRN 1216019100 121615 93053560 $ 3,157.05
Sent To:
WELLS FARGO BANK NA
Beneficiary:
SMART METALS RECYCLING LLC
12/21 BUSINESSSOLUTION VONAGE CCD 1138424 55680560 170.33
2 Electronic debits Total amount $ 3,327.38
Other debits, fees and adjustments
Date Description Reference Amount
12/2 TELEPHONE TRANSFER 99350556 $ 27,250.00
12/16 TELEPHONE TRANSFER 99350603 8,238.60
12/28 BANK SERVICES FEE (CHK) 90263863 50.00
12/29 TELEPHONE TRANSFER 99350998 12,750.00
4 Other debits, fees and adjustments Total amount $ 48,288.60
DAILY LEDGER BALANCE
Date ledger Balance Date ledger Balance Date ledger Balance
12/1 $ 49,938.56 12/9-12/10  $ 19,848.67 12/24.12/27 $ 13,449.84
12/2 22,688.56 12/11-12/13 18,159.99 12/28 12,754.99
12/3 25,013.66  12/14-12/15 18,739.24 12/29 202,815.36
12/4-12/6 24,611.66 12/16 7,343.59 12/30 201,304.59
12/7 22,804.43  12/17-12/20 11,109.54 12/31 200,292.09
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Statement Number: 2133489589
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Us UnionBank

 

 

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OPERATING ACCOUNT

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NO 28601

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City of Hickory -

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LOS ANGELES, CA 80071

 

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Statement Number: 2133489589
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PO Box 9001088 : . ~ LS
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Us UnionBank Page 9 of 13

Statement Number: 2133489589
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HloKORY, Ne 28804 1 O15
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ORDER OF Clty af Hickory |‘ oo $ 35.76
Sixty-five and 78/100 * DOLLARS |

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Case 15-11660-KBO Doc 312

Us UnionBank

Filed 02/10/16 Page 16 of 40

Page 10 of 13
Statement Number: 2133489589
12/1/15- 12/31/15

 

ZLOOP, ING
OPERATING ACCOUNT
816 19TH ST NE
‘ HICKORY, NC 28504
855-2L00P-T

URION DANK
445 SOUTH FIGUEROA STREET, FI8
LOS ANGELES, CA 90071

PAY TO THE

ORDER oF Southlend Brokerage Go., Inc.

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zLoop, INC a 16057
OPERATING ACCOUNT FGUER| .
816 437H ST, RE LOS ANGELES, CA S00rT
HICKORY, NO 26601 AZOSI2015
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Case 15-11660-KBO Doc 312 Filed 02/10/16 Page 17 of 40

Ws UnionBank

Page 11 of 13
Statement Number: 2133499589
2/1/15 - 12/31/15

 

ZLOOP, INC

OPERATING ACCOUNT

PAY OTH
ORDER:

‘ST, NE
HICKORY, NC 28504
SBSZLOOP-IT

OF Robert Boston
Nine hundred ety and 82/100
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Robert B

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UNION BANK
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Case 15-11660-KBO Doc 312 Filed 02/10/16 Page 18 of 40

Qs UnionBank

 

 

ZLOOP,ING ~
= OPERATING ACCOUNT
o- 816 12TH ST, NE

 

 

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445 SOUTH FIQUEROA STREET, FI& |
LOS ANGELES, CA so07t ‘

   
  

 

 

Aasel Recs \ Recovery Specialist, inc, = :
Al a
10805 Soalhorn too Blvd,
Pineville, NC 204

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Page 12 of 13
Statement Number: 2133489589
12/1/15 - 12/31/15

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Form 03400 (09/2014)

 

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us UnionBank Page 13 of 13

Statement Number: 2133489589
12/1/15 - 12/31/15 H

 

  

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Case 15-11660-KBO Doc 312

STATEMENT
OF ACCOUNTS
UNION BANK

TRUSTEE SERVICES 0215

POST OFFICE BOX 513860
LOS ANGELES

Us UnionBank

CA 90051-3840

CY30M OM 0000

ZLOOP; INC.

PAYROLL

CHAPTER 11 DEBTOR IN POSSESSION CDIP)
CASE #15-11660

816 13TH STREET NE

HICKORY NC 28601

Filed 02/10/16 Page 20 of 40

Page | of 2

ZLOOP, INC.

Statement Number: 2133489597
12/1/15- 12/31/15

Customer Inquiries
800.669.866]

Thank you for banking with us

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Conveniently access account information and key online services with the Mobile Business Center

from Union Bank. Ge to m.unionbank.com on your smartphone to check balances, initiate transfers,
and approve wires securely. You can also manage stops and returns as well as view and make
decisions on Positive Pay exceptions. To learn more, call your ireasury relationship manager or
contact Treasury Management Sales at 800-883-0285.

ANALYZED BUSINESS CHECKING SUMMARY

Days in statement period: 33

Account Number: 2133489597

 

 

 

 

 

 

 

Beginning balance on 12/1 $ 16,451.32
Total Credits 48,425.71
Electronic credits ( 1 ) 187.1)
Other credils and adjustments ( 3 } 48,238.60
Total Debits +67 827.08
Electronic debits { 9 } -67,827.008 _
Ending Balance on 12/31 $ -2,950.05
CREDITS
Electronic credits
Date Description Reference Amount
12/21 ADPTax/401k Tax/401k CCD R8BXH 6388947VV §5547106  §$ 187.11
Other credits and adjustments
Date Description Reference Amount
12/2 TELEPHONE TRANSFER 99350557 $ 27,250.00
12/16 TELEPHONE TRANSFER 99350604 8,238.60
12/29 TELEPHONE TRANSFER 99350999 12,750.00
3 Other credits and adjustments Total amount $ 48,238.60
DEBITS
Electronic debits
Date Description Reference Amount
12/3 ADP Tax/401k Tax/401k CCD R8BXH 120408A01 53480570 $ 4,581.08
]2/3 ADP Tax/401k Tax/401k CCD R8BXH 120306A01 §3480571 7,189.51
12/3 ADP EEPAY/GARNWC EEPAY/GARN CCD 694066066207BXH §3482732 24,671.81
}2/11 ADPPAYROLLFEES ADP. FEESCCD 2RBXH 0364314 §9387430 147,52
= 12/17 ADP Tax/401k Tax/401k CCD R8BXH 121809A01 §383245] 4,238.97
3 12/17 ADP EEPAY/GARNWC EEPAY/GARN CCD 580024501912BXH §3836950 10,979.93
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Case 15-11660-KBO Doc 312 Filed 02/10/16 Page 21 of 40

Us UnionBank

Electronic debits continued

Page 2 of 2

ZLOOP, INC.

Statement Number: 2133489597
12/1/15 ~ 12/31/15

 

 

 

 

Date Amount

32/28 ADP PAYROLL FEES ADP. FEES CCD 2RBXH 0915729 59115723 $ 79.12

12/30 ADP Tax/401k Tax/401k CCD R8BXH 123101A01 4,455.52

12/30 ADP EEPAY/GARNWC EEPAY/GARN CCD 602037077281BXH 11,483.62
9 Electronic debits Total amount $ $7,827.08

DAILY LEDGER BALANCE

Date Date ledger Balance ledger Balance

12/1 12/16 $ 15,350.00 $ 12,989.09

12/2 12/17-12/20 131.10 -2,950.05

12/3-12/10 12/21-12/27 | 318.21

12/11-12/15 12/28 239.09

Form 03400 (09/2014)

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Case 15-11660-KBO Doc 312 Filed 02/10/16 Page 22 of 40

cr tegete STATEMENT Page 1 of 1
s UnionBank OF ACCOUNTS ZLOOP, INC.
UNION BANK Stotement Number: 2133489605
TRUSTEE SERVICES 0213 12/1/15 - 12/31/15
POST OFFICE BOX 513840 -
LOS ANGELES CA 90051-3840
Customer Inquiries
800-669-8661
CY30M 0M 0000 Thank you for banking with us
since 2015
ZLOOP, INC.
UTILITIES ASSURANCE ‘)
CHAPTER 11 DEBTOR IN POSSESION CDIP) \ C ‘e/
CASE #15-11660 GAS Os
816 13TH STREET NE ~
HICKORY NC 28601 Gufs

Wis
Ml Conveniently access account information and key online services with the Mobile Business Center
from Union Bank. Go to m.unionbank.com on your smartphone to check balances, initiate transfers,
and approve wires securely, You can also manage stops and returns as well as view and make
decisions on Positive Pay exceptions. To learn more, call your treasury relationship manager or

contact Treasury Management Sales at 800-883-0285.

ANALYZED BUSINESS CHECKING SUMMARY Account Number: 2133489605

 

 

 

Days in siatement period: 31
Beginning balance on 12/1 $ $85.50
Total Credits 0.00
Total Debits 0.00
Ending Balance on 12/31 5 685.50
DAILY LEDGER BALANCE
Date ledger Balance Date ledger Balance Date ledger Balance
12/1-12/31  $ 685.50
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Case 15-11660-KBO Doc 312 Filed 02/10/16 Page 23 of 40

 

l«we,” “Our,” “Us,” “Bank,” or “Union Bank” refers to MUFG Union Bank, na. |

ERROR RESOLUTION NOTICE AND FEDERAL BILLING RIGHTS SUMMARY
FOR CONSUMER CUSTOMERS ONLY

 

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC TRANSFERS:
Telephone us at 800-238-4486 or, for hearing impaired at 800-826-7345 (TDD), or write to
us at:

MUFG Union Bank, N.A.
Claims Operations, BO2-469
P.O. Box 2327

Brea, CA 92822-2327

Contact us as soon as you can, if you think your statement or receipt is wrong or if you need
more information about a transfer on the statement or receipt. We must hear from you no later
than 60 days after we sent you the FIRST statement on which the error or problem appeared.

1) Teil us your name and account number (if any);

2) Describe the error or the transfer you are unsure about, and explain as clearly as you can
why you believe it is in error or why you need more information; and

3) Tell us the dollar amount of the suspected error.

We will investigate your complaint and correct any error promptly. If we take more than 10
business days to do this, or 20 business days if the error concerns a new account open less
than 30 days, we will credit your account for the amount you think is in error so that you will
have use of the money during the time it takes us to compiete our investigation.

 

 

BILLING RIGHTS SUMMARY - BILLING ERROR - CASH RESERVE ACCOUNTS
What To Do If You Think You Find a Mistake on Your Account

{f you think there is an error on this statement, write to us (on a separate sheet of paper) at
the branch address shown at the top of the first page of this statement.

In your letter, give us the following information:
« Account information: Your name and account number.
+ Dollar amount: The dollar amount of the suspected error.
+ Description of problem: \f you think there is an error on your bill, describe what you
believe is wrong and why you believe it is a mistake.

You must contact us within 60 days after the error appeared on your statement.

You must notify us of any potential errors in writing. You may call us, but if you do we are not
required to investigate any potential errors and you may have to pay the amount in question.

While we investigate whether or not there has been an error, the following are true:

We cannot try to collect the amount in question, or report you as delinquent on that
amount.

The charge in question may remain on your statement, and we may continue to charge
you interest on that amount. But, if we determine that we made a mistake, you will not
have to pay the amount in question or any interest or other fees related to that amount.
While you do not have to pay the amount in question, you are responsible for the
remainder of your balance.

We can apply any unpaid amount against your credit limit.

.

BALANCE SUBJECT TO INTEREST RATE AND INTEREST CHARGE
CALCULATION - CASH RESERVE ACCOUNT

The balance upon which an interest rate is imposed is the Daily Unpaid Principal Balance. We
calculate the interest charge on your Cash Reserve Account by applying a daily rate to each
day’s ending principal balance. The daily rate is calculated by dividing the 18% Annual
Percentage Rate by 365. The Annual Percentage Rate is the annual interest rate on your
Cash Reserve Account. Each day's ending principal balance consists of the unpaid amount
of any previous advances, plus advances posted that day, less any payments or other
credits posted that day, and excluding any unpaid interest, transfer fees or the annual fee.
Each day that there is a positive ending daily principal balance, Union Bank will calculate an
interest charge by multiplying the ending daily principal balance by the daily rate. The total of
each day’s interest charge for the billing cycle will be shown on your periodic statement as the
“Interest Charge,” and the total of each day's positive ending principal balance, divided by the
number of days in the billing cycle, will be shown on your periodic statement as the
“Balance Subject to Interest Rate.”

 

 

REPORTING INFORMATION TO CREDIT BUREAUS

We may report information about your account to credit bureaus. Late payments, missed
payments, or other defaults on your account may be reflected in your credit report.

 

 

TAX DEDUCTIBILITY
You should consult a tax advisor regarding the deductibility of interest and charges for your
Cash Reserve Account.

 

 

 

MUFG Union Bank, N.A. Member FDIC

HOW TO BALANCE YOUR CHECKBOOK
Make sure that all the transactions reflected on your
statement have been recorded in your checkbook register.

4 Begin with the Ending Balance
from page 1 of your statement.

2 Add any deposits and credits
that are not shown on your
statement.

3 Add your entries from steps
— iand 2,

4 Subtract any payments
{outstanding checks, ATM or
card purchases, transfers out,
fees, charges, and
adjustments) that are nat
shown on your statement.

5 Z Total of subtractions

6 Subtract the amount in step 5
from the amount in step 3.

The ending amount should
agree with the balance in your
checkbook register. If the
amounts don't agree and you
suspect a bank error, please
contact us immediately.

FORM 03400 (Rev. 09/2014) ie

 

 
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Case 15-11660-KBO Doc 312 Filed 02/10/16 Page 24 of 40

4g First Citizens Bank

Central Bank Operations - DACO2
P.O. Box 27131
Raleigh, NC 27611-7134

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ZLOOP INC
816 I3TH ST NE
HICKORY NC 28601

Statement Period: December 1,2016 Thr December 31, 2015

 

AccountNumber: 001414217834

 

Basic Business Checking
Account Number: 0014141217834

 

Enclosures in Statement: 0

Beginning Balance “22969. 72+ Statement Period Days 34
Deposits 0.00 Average Ledger Balance 1,846.00+
0 Other Credits .0.00
0 Checks 0.00
441 Other Debits 1,971,15-
Monthly Service Charge 0.00
‘Ending Balarice - 998. 57+

 

Other Debits From Your Account
Date Description

12-04 Purchase Visa #6606 11-30 ATM 065762 Seg # 25961
Best Buy #425 1884 Catawba Val Hickory Cc
12-02 POS Signature- Visa #6606 Rancho Viejo Mexican G Hickory NC
12-02 POS Signature- Visa #6606 Dickeys NC-439 Hickory NC
42-02 Purchase Visa #6606 12-01 ATM 065762 Seq # 14000
Best Buy #425 1884 Catawba Val Hickory NC
42-03 POS Signature- Visa #6606 Jimmy Johns - 2327 - E 828-5786044 NC
12-03 Purchase Visa #6606 12-03 ATM 004 Seq # 27254
. Rite Aid Store 41160 16TH Street Hickory NC
12-03 POS Signaiure- Visa #6606 Lowe’s Foods #245 Fuel Hickory NC
12-04 POS Signature- Visa #6580 Shooter's Sports Loung Hickory NC
12-04 POS Signature- Visa #6580 Raceway6739 64567399 Hickory NC
12-07 POS Signature- Visa #6580 Dickeys NC-439 Hickory NC
12-07 POS Signature- Visa #6580 Dnh"godaddy.Com 480-5058855 Az
12-07 POS Signature- Visa #6580 Dnh"godaddy.Com.480-5058855 Az
12-07 POS Signature- Visa #6580 Love S$ Couniry0G003087 Marion NC’
12-07 POS Signature- Visa #6580 Exxontnobil 45471703 Hickory NC
12-08 POS Signature- Visa #6580 Tony's Pizza Of Hickor Hickory NC
12-09 POS Signature- Visa #6580 Pdq Hickory NC
12-09 POS Signature- Visa #6606 At&t "bill Payment 800-288-2020 Ix
12-09 POS Signature- Visa #6580 Exxonmobil 45471703 Hickory NC
12-11 POS Signature- Visa #6580 Shooter's Sports Loung Hickory NC
12-14 Purchase Visa #6606 12-44 ATM 310079 Seq # 48010
USPS 3635600601 USPS 3635600601/ Hickory NC
12-414 POS Signature- Visa #6606 USPS.Com Click661006411 800-3447779 Dc
12-14 POS Signature- Visa #6606 USPS.Com Click66100614 800-3447779 Dc
12-14 POS Signature- Visa #6580 Speedway 07963 241 Hickory NC

oo

Direct Customer Inquiry Calls To
FIRST CITIZENS DIRECT
1 Telephone Banking At 1-888-323-4732.

 

Amount
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64.19

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33.50

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Case 15-11660-KBO Doc 312 Filed 02/10/16 Page 25 of 40

 

 

Sfatement Period: December 1, 2015 Thru December 314, 2015 Account Number : 001441217834
Other Debits From Your Account
Date Description Amount
12-44 POS Signature- Visa #6580 Olde Hickory Station Hickory NC 33.93
12-14 Purchase Visa #6606 412-14 ATM 115633 Seq # 32500 35.27
Cubbard Express 954 16TH St NE Hickory NC
12-14 Purchase Visa #6606 12-14 ATM 115633 Seq # 96400 37.46
Cubbard Express 954 16TH St NE Hickory NC
12-415 POS Signature- Visa #6606 Hatch Hickory NC 28.89
12-17 POS Signature- Visa #6580 Shoofer's Sports Loung Hickory NC 51.34
12-48 POS Signature- Visa #6580 Springs Road G14010359 Hickory NC 39.60
42-24 Purchase Visa #6606 12-49 ATM 004 Seq # 36435 §.34
Lowe’s #2370 1450 2ND Street Hickory NC
42-21 POS Signature- Visa #6580 Bp#2541092Knights Bp Harmony NC 39,05
12-24 POS Signature- Visca #6580 Sierra Nevada Taprestn Mills River NC 54.66
12-24 POS Signature- Visa #6606 At&t"bill Payment 800-288-2020 Tx 245.00
12-23 Purchase Visa #6606 42-23 ATM 280255 Seq # 73661 19.99
. USPS 3553900297 USPS 3553900297/ Mohawk Ny
42-28 POS Signature- Visa #6580 Verizon Wris Myacct Ve 800-9220204 Ca 170.73
42-28 POS Signature- Visa #6580 Shell Oil 12372971007 Denver NC 38.45
12-30 POS Signature- Visa #6580 Fedex 809204327358 800-4633339 Tn 26.00
12-34 POS Signature- Visa #6580 Dnh*godaddy.Com 480-5058855 Az 18.34
12-341 POS Signature- Visa #6580 Longhom Steak00051227 Hickory NC 66.86
12-34 POS Signature- Visa #6580 Raceway6739 64567399 Hickory NC 34.30
12-31 Paper Statement Fee 3.00
Total 1,974.15
Daily Balance Summary
Date Balance Date Balance Date Balance
42-01 2,884.13+ 42-09 2,087 .69+ 12-21 1,373 .24+
42-02 2,766.66+ 42-11 2,008 .42+ 42-23 1,353 .25+
42-03 2,665 ,27+ 12-14 4,837 .12+ 12-28 1,144 .07+
42-04 2,559 .84+ 12-15 4,808 .23+ 42-30 4,418 .07+
12-07 2,389 .63+ 12-417 4,756 .89+ 42-34 998 .57+
42-08 2,366,59+ 12-18 4,717-.29+
Page 2 of 4

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ZLOOP, Inc.
Disbursements
12/1/15-12/31/15

Date
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12/2/2015
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12/2/2015
12/3/2015
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12/14/2015

Case 15-11660-KBO Doc 312

Amount
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24.82

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727.86
531.39
644.85
48.33
65.76
124.15
131.05
131.25
170.23
500.00
400.00
24,671.81
4,581.08
7,189.51
35.28
23.00
43.11
43.00
62.43
366.84
18.34
91.77
35.80
13.17
11.13
23.04
227.23
32.65
19.02
926.73
960.82
147,52

Payee
Best Buy

Dickey's BBQ Pit

Best Buy

Rancho Viejo

BlueCross BlueShield of NC
BlueCross BlueShield of NC

NC Department of Environmental Quality
Duke Energy

NV Energy

T.R.P. Bumper Service

City of Hickory

City of Hickory

Greenteknology Electronics Recycling Solutions, LLC
Republic Services

Dickinson Hauling and Grading
Vonage Business

Southland Brokerage Co.. Inc.
Accounting for Profits II

ADP. LLC

ADP, LLC

ADP, LLC

Rite Aid

Jimmy Johns

Lowe's Foods

Raceway

Shooter's Sports Lounge
Greenteknology Electronics Recycling Solutions, LLC
GoDaddy

Loves Country Store

Exxon

GoDaddy

Dickey's BBQ Pit

Tony's Pizza

AT&T

Exxon

PDQ

Gordon's Iron & Metal Company
Robert Boston

ADP. LLC

(187.11) ADP, LLC

79.27
33.50
33.93
35.27
37.46
22.60

3.49

Shooter's Sports Lounge
Speedway

Olde Hickory Station
Cubbard Express
Cubbard Express

USPS

USPS

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Account

 

First Citizens - Checking
First Citizens - Checking
First Citizens - Checking
First Citizens - Checking -
Union Bank - Operating
Union Bank - Operating
Union Bank - Operating
Union Bank - Operating
Union Bank - Operating
Union Bank - Operating
Union Bank ~ Operating
Union Bank - Operating
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Union Bank - Payroli
Union Bank - Payroll
First Citizens - Checking
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First Citizens - Checking

 

 
ZLOOP, Inc.
Disbursements
12A/5-12/31/15

Date

12/14/2015
12/15/2015
12/16/2015
12/16/2015
12/16/2015
12/1772015
12/17/2015
12/17/2015
12/17/2015
121772015
12/17/2015
12/17/2015
121772015
12/17/2015
12/8/2015
12/18/2015
12/21/2015
12/21/2015
12/2172015
12/21/2015
12372015
122872015
1279872015
12/28/2015
12/28/2015
12/30/2015
123072015
12/30/2015
12302015
12/30/2015
12/30/2015
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Case 15-11660-KBO Doc 312

Amount

35.05
28.89
3,157.05
10,979.93
4,238.97
208.94
318.00
355.84
549.00
567.83
1,012.50
1,150.00
1,154.93
51.34
170.33
39.60
245.00
54.66
39.05
5.34
19.99
50.00
79.12
170.73
38.45
833.06
4,203.00
299.60
290.92
273.53
175.00
130.66
49.31
0.82
11,483.62
4.455,52
26.00
66.86
18.34
31.30

3.00

93,108.84

Payee
USPS

Hatch

Smart Metals Recycling

ADP, LLC

ADP, LLC

Le Bleu Bottled Water

Tyco Integrated Security LLC
Asset Recovery Specialist, Inc.
NAID

Greenteknology Electronics Recycling Solutions, LLC
Dickinson Hauling and Grading
Southland Brokerage Co., Inc.
Duke Energy

Shooter's Sports Lounge
Vonage Business

Speedy Gas

AT&T

Sierra Nevada Brewing Co.

BP

Lowes Hardware

USPS

Union Bank

ADP, LLC

Verizon

Shell

NV Energy

Miller Advertising Agency. Inc.
VESCO Toyotalift

Duke Energy

Charter Communications

Blue Ridge Lawncare & Landscaping
Republic Services

City of Hickory

CenturyLink

ADP, LLC

ADP, LLC

FedEx

Longhom Steakhouse
GoDaddy

Raceway

CommunityOne

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Account
First Citizens - Checking
First Citizens - Checking
Union Bank - Operating
Union Bank - Payroll
Union Bank -~ Payroll
Union Bank - Operating
Union Bank - Operating
Union Bank - Operating
Union Bank - Operating
Union Bank - Operating
Union Bank - Operating
Union Bank - Operating
Union Bank - Operating
First Citizens - Checking
Union Bank - Operating
First Citizens - Checking
First Citizens - Checking -
First Citizens - Checking
First Citizens - Checking
First Citizens - Checking
First Citizens - Checking
Union Bank - Operating
Union Bank - Payroll
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First Citizens - Checking
Union Bank - Operating
Union Bank - Operating
Union Bank - Operating
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Union Bank - Operating
Union Bank - Operating
Union Bank - Operating
Union Bank - Payroll
Union Bank - Payroll
First Citizens - Checking
First Citizens - Checking
First Citizens - Checking
First Citizens - Checking
First Citizens - Checking

 

 
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In re ZLOOP, Inc. Case No. 15-11660

 

Debtor Reporting Period: December 1.2015 - December 31, 2015

STATEMENT OF OPERATIONS

(income Statement)

The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
realized and expenses when they are incurred, regardless of when cash is actually received or paid. t

Gross Revenues
Less: Returns and Allowances
Revenue

Other
Less:
Cost Sold
Gross Profit

and Truck
Bank Fees
Insurance
Internet
and
and

Taxes

Maintenance
Salaries and
Rent
and
Office and Warehouse

Commissions and Fees
&
Reimbursement
Other (attach
Total Before

Net Profit Before Other Income &

Other

Fees
U.S. Trustee Fees
Interest Earned on Accumulated from 11 (see continuation
Gain from Sale of

attach schedule:

Total
Income Taxes
Net Profit

 

*"Insider" is defined in 11 U.S.C. Section 101(31).
** Reported amounts have not been reconciled and adjusted to account for the revisions reflected on the Debtor's recently filed
amended bankruptcy schedules. Those adjustments will be reflected in the Debtor's January 2016 monthly operating report.

FORM MOR-2
(04/07)

 

 
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In re ZLOOP, Inc. Case No. 15-11660
Debtor Reporting Period: December 1, 2015 - December 31,2015

STATEMENT OF OPERATIONS - continuation sheet

fe g Mu trates

  
   

 

BREAKDOWN OF "OTHER ’ iy MC eased fake " to Date |’

‘Other. Costs. \:

Other Income |) 350

Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
bankruptcy proceeding, should be reported as a reorganization item.

FORM MOR-2 CONT'D
(04/07)

 

 
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In re ZLOOP, Inc, Case No, 15-11660
Debtor Reporting Period: December 1, 2015 - December 31, 2015

BALANCE SHEET

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from postpetition obligations.

ASSETS ''

Unrestricted Cash and
Cash and Cash see continuation
Receivable

Assets
TOTAL CURRENT.

Real and
and ent
Fixtures and Office
Leasehold
Vehicles
Accumulated
ERTY

to
Assets
TOTAL OTHER ASSETS
. sa :

L ASSETS"

refer to FORM

/
Professional Fees
Due to Insiders*
Liabilities (attach schedule
TOTAL POSTPETITION LIABILITIES

Secured Debt
Debt
Unsecured
"AL LIABILITIES ***

ue
hos ‘ hie

TOTAL LIABILITIES

Stock
Paid-In
Partners’ Account
Owner's Account
- Pre-Petition

to

‘1 OWNER

afb ay?

‘LIABILITIES ANDO

 

="Insider” is defined in 11 U.S.C. Section 101(31).

*** Prepetition Liabilities include certain amounts that are Contingent, Unliquidated and/or Disputed.

™*** Reported amounts have not been reconciled and adjusted to account for the revisions reflected on the Debtor's recently filed amended bankruptcy schedules.
Those adjustments will be reflected in the Debtor's January 2016 monthly operating report.

FORM MOR-3
(04/07)

 

 

 

 
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In re ZLOOP., Inc.

Case No. 15-11660
Debtor

Reporting Period: December 1, 2015 - December 31, 2015

 

BALANCE SHEET - continuation sheet

Other Current ‘Assets
Kendall 800,000

teceivable - ZLOOP 127.733

receivable - ZLOOP
Asset Sale - JLG scissor lift
REI Escrow

' ea

Franchise Costs
Intellectual

69.
227,623

 

Restricted Cash is cash that is restricted for a specific use and not available to fund operations. Typically, restricted cash is segregated
into a separate account, such as an escrow account.

800.000
103,214
281

4.187.110

FORM MOR-3 CONT'D
(04/07)

 

 
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In re ZLOOP, Inc. Case No. 15-11660
Debtor Reporting Period: December 1, 2015 - December 31, 2015

STATUS OF POSTPETITION TAXES

 

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax retums filed during the reporting period.

Ol Engng’ |
yoo Tax
‘Liability.

1281/5 0.00

 

SUMMARY OF UNPAID POSTPETITION DEBTS

Attach aged listing of accounts payable.

 

13

 

Explain how and when the Debtor intends to pay any past-due postpetition debts.

 

*"Insider” is defined in I} U.S.C. Section 101(31).

 

“* Accrual for retained restructuring professionals through December 2015, based upon fee applications filed to date.

FORM MOR-4
(04/07)

 
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Payroll Liability

 

 

Total Cash Required $16,183.02
Debit for FSDD (Full Service Direct Deposit} UnionBank, Routing/Transitno. (ABA) 122000496, Bank $11,601.94

account no. XXXXXX9597
Debit for Taxes UnionBank, Routing/Transit no. (ABA) 122000496, Bank $4,581.08

account no. XXXXXX9597

 

Total cash required for UnionBank, Routing/Transit no. (ABA) 122000496, Bank account no. XXXXXX9597 $16,183.02

 

Important Note

Your cash required total does not include your fees for service. The invoice with the details of your fees will be sent the Monday
after you process your payroll with the debit from your account occurring 3 banking days later.

 

 

Company: Zloop Inc 1 of 2 Date Printed: 11/30/2015 09:58

Check date: 12/4/2015 - Payroll 1 22343813 - RB/BXH
Pay Period: 11/14/2015 to: 11/27/2015

 

 
Case 15-11660-KBO Doc 312 Filed 02/10/16 Page 34 of 40

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Payroll Liability

PAYFREQUENCY: Biweekly
Net Pay

Checks 0.00

Subtotal Net Pay 0.00
Taxes Dapasi Responsibility Deposit Responsibility

Client ADP

Agency Rate E€ withheld ER contrib EE withheld ER contrib
Fedoral Federal Inceme Tax 4,761.52 1,761.52

Social Security 824.96 824.36 1,848.72

Madicare 216.18 215,16 432.56

Federal Unemployment Tax Act 0.6000 14.57 14.57

Subtotal Federal 2,902.06 4,155.14 4,057.17
State NC State income Tex £06.00

NC State Unempioyment 1.2000 418.94

(Employer)

Subtotal NC 405.00 18,91 623.91

Total Taxes 3,307.06 4,274.02 4,581.08
Other Transfers Full Service Direct Deposit (FSDD) 11,501.94 JF Employes

Tr

Total Biweekly Pay Fraquency

Total Direct Daposit (FSDD) $11,601.94

Total Taxes : $4,581.08

Total Amount ADP Dabited from your $16,183.02

Account(s)
Total For 42342

Total Direct Deposit (FSDD) "$11,601.94

Total Taxes: $4,581.08

Total Amount ADP Deblited from your $16,183.02

Account(s)
Company: Zloop Inc 2 of 2 Date Printed: 11/30/2015 09:58

Check date: 12/4/2015 - Payroll 1
Pay Period: 11/14/2015 to: 11/27/2015

22343813 - R8/BXH

 

 
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Payroll Liability

 

 

Totat Cash Required $15,218.90
Debit for FSDD (Full Service Direct Deposit) UnionBank, Routing/Transit no. (ABA) 122000496, Bank $10,979.93

account no. XXXXXX9597
Debit for Taxes UnionBank, Routing/Transit no. (ABA) 122000496, Bank $4,238.97

account no. XXXXXX9597

 

Total cash required for UnionBank, Routing/Transit no. (ABA) 122000496, Bank account no. XXXXXX9597 $15,218.90

 

Important Note

Yourcash required total does not include your fees for service. The invoice with the details of your fees will be sent the Monday
after you process your payroll with the debit from your account occurring 3 banking days later.

 

 

 

 

Company: Zloop Inc 1 of 2 Date Printed: 12/16/2015 16:55
Check date: 12/18/2015 - Payroll 1 22343813 - R8/BXH
Pay Period: 11/28/2015 to: 12/11/2015

 
Case 15-11660-KBO Doc 312 Filed 02/10/16 Page 36 of 40

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Payroll Liability

PAYFREGUENCY: = Biwoskly
Nei Pay

Checks 0.00

Subtotal Net Pay 0.06
Taxes Depost Responsibility Deposit Responsibility

Ctiont ADP

Agency Rate E€ withheld ER conirlb GE withhold ER contrib
Federal Federal Income Tax 1,664.47 1,664.47

Soclal Security 372.88 872.86 1,748.72

Medicare 204.44 204.14 408.28

Federal Unamployment Tax Act 6.6000 8,16 9.16

Subtotal Federal 2,744.47 4,086.16 3,827.63
State NC Stale income Tax - 357.00

NG Stale Unemployment 4.2000 54.34

{Employer}

Subtotal NC 357.00 54.34 at134

Tolal Taxes 3,098.47 1,140.55 4,238.57
Other Transfers Full Service Direct Deposit (FSDD) 40,979.93 7 Employee

Transactions

Total Biweekly Pay Frequency

Total Direct Deposit (FSDD)} $10,979.93

Total Taxes $4,238.97

Total Amount ADP Debded Irom your $16,218,80

Account(s)
Total Far 42355

Total Direct Deposil (FSOD) $16,979.93

Total Taxes $4,238.97

Tataf Amount ADP Debited from your $15,218.90

Account(s)
Gompany: Zioop Inc 2 of 2 Date Printed: 12/16/2015 16:55

Check date: 12/18/2015 - Payroll 4
Pay Period: 11/28/2015 to: 12/11/2015

22343813 - R8/BXH

 

 
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Payroll Liability
Total Cash Required $15,939.14
Debit for FSDD (Full Service Direct Deposit) UnionBank, Routing/Transit no. (ABA) 122000496, Bank $11,483.62
account no. XXXXXX9597
Debit for Taxes UnionBank, Routing/Transit no. (ABA) 122000496, Bank $4,455.52

account no. XXXXXX9597

Total cash required for UnionBank, Routing/Transit no. (ABA) 122000496, Bank account no. XXXXXX9597 $15,939.14

Important Note

Yourcash required total does not include your fees for service. The invoice with the details of your fees will be sent the Monday
after you process your payroll with the debit from your account occurring 3 banking days later.

 

Gompany: Zicop Inc 1 of 2 Date Printed: 12/29/2015 14:44
Check date: 12/31/2015 - Payroll 1 22343813 - R8/BXH
Pay Period: 12/12/2015 to: 12/25/2015

 

 
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Payroll Liability
PAYFREQUENCY: Biweokly

Net Pay

Checks
Subtotal Nat Pay
Taxes Deposit Responsibility Deposit Responsibility
Cllont ADP
Agency Rate EE withheld ER contrib EE withheld EA contrib
Federal Federal income Tax 4,738.48
Social Security 914.25 914.26
Medicare 213.81 213.81
Federal Unemployment Tax Act 0.6000 8.01
Subtotal Federat 2,866.48 1,136.08
State NG Stats income Tax 396.00
NC State Unemployment 1.2000 £6.96
(Employer)
Subtotal NC 396,00 66.96

Yotal Taxes 3,262.48 1,193.04

 

 

0.00

1,738.42
1,828.61
427.62
6.67

4,002.56

452.96
4,455, 52

0.00

 

Other Transfers Full Service Direct Deposit (FSDD)

Total Biweekly Pay Frequency

Tota! Direct Deposit (FSDD) $11,483.62
Total Taxes $4,455.52
Total Amount ADP Debited from your $15,939.14
Account{s)

Total For 42369

Total Direct Deposit (FSDD) $11,483.62
Totat Taxes $4,495.52
Total Amount ADP Debited from your $15,939.14
Account(s)

41,483.52

7 Employee
Transactions

 

Company: Zloop Inc 201 2
Check date: 12/31/2015 - Payroll 1
Pay Period: 12/12/2015 to: 12/25/2015

Date Printed: 12/29/2015 14:44
22343813 - R8/BXH

 

 
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ZLOOP, Inc.
Accounts Payable Aging
As of December 34, 2015

Vendor
City of Hickory
Greenteknology Electronics Recycling Solutions, LLC
Keen-Summit Capital Partners LLC
Le Bleu Bottled Water
Omnivere
Piedmont Natural Gas
Watson Insurance

Current

 

 

 

1-30 Days 34-60 Days 61-90 Days 90+ Days Total
$62.48 $62.48
$150.36 $150.36
$19,681.00 $18,681.00
$25.87 $25.87
($3,228.75) ($3,228.75)
$199.53 $199.53
($719.00) {$719.00}
$19,906.40 $62.48 ($719.00) ($3,228.75) $150.36 $16,171.49

 

 

 
 

 

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In re ZLOOP. Inc,
Debtor

ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

  

WT gg alee tsb oslly
Accounts Receivable'Recone

‘Amount’

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
  

 

 

 

 

 

 

 

 

 

Total Accounts Receivable at the beginning of the reporting period 224,852.58
+ Amounts billed during the period 10,732.31
- Amounts collected during the period (13,256.68)
Adjustments (8,223.97)
Total Accounts Receivable at the end of the reporting period 214,104.24
Accounts Receivable Aging Uc! Amount. .
0 - 30 days old 1,218.68
31 - 60 days old 4,961.48
61 - 90 days old (5,820.74)
91+ days old 213,744.82
Total Accounts Receivable 214,104.24
Amount considered uncollectible (Bad Debt) -
Accounts Receivable (Net) 214,104.24
DEBTOR QUESTIONNAIRE

Must be'completed each month 1) 00 85) No’
1, Have any assets been sold or transferred outside the normal course of business x

this reporting period? If yes, provide an explanation below.
2. Have any funds been disbursed from any account other than a debtor in possession x

account this reporting period? If yes, provide an explanation below.
3. Have all postpetition tax returns been timely filed? If no, provide an explanation x

below.
4. Are workers compensation, general liability and other necessary insurance Xx

coverages in effect? Ifno, provide an explanation below.
5. Has any bank account been opened during the reporting period? If yes, provide x

documentation identifying the opened account(s). If an investment account has been opened

provide the required documentation pursuant to the Delaware Local Rule 4001-3.

FORM MOR-5

(04/07)

 

 
